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| United States Bankruptcy Court for the:

Eastern District of North Carolina

| Case number (it known}:

Chapter 7

Official Form 105

Involuntary Petition Against an Individual

C) Check if this is an
amended filing

12/15

Use this form to begin a bankruptcy case against an individual you allege to be a debtor subject to an involuntary case. If you want to begin a
case against a non-individual, use the Involuntary Petition Against a Non-individual (Official Form 205). Be as complete and accurate as
possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write name and case number (if

known).

ea Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

4. Chapter of the
_ Bankruptcy Code

ea Identify the Debtor

Check one:

4 Chapter 7
Q) Chapter 11

| 2, Debtor's full name

Willard
First name

Timothy
Middle name

Sutton

Last name

Suffix (Sr., Jr, Il, If

3. Other names you know
| the debtor has used in
the last 8 years

Include any assumed,
married, maiden, or trade
names, or doing business as

4. Only the last 4 digits of
_ debtor's Social Security
Number or federal
Individual Taxpayer
Identification Number

. Any Employer
Identification Numbers
(EINs) used in the last 8
years

Official Form 105

W. Timothy Sutton

Tim Sutton
Timothy Sutton

OK = XK = on

Involuntary Petition Against an Individual

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Debtor Willard Timothy Sutton

6. Debtor’s address

Principal residence

Case number (known)

4509 Southlea Drive

Number Street Number Street

Winterville NC 28590

City State ZIP Code City State ZIP Code
Pitt

County

Principal place of business fi

3840 Charles Boulevard

Number Street

|

ge sitet sistent

9. Do you know of any

7. Type of business

Greenville NC 27858
City State ZIP Code
Pitt

County

QC) Debtor does not operate a business

Check one if the debtor operates a business:

BOOUDO

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C, § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

8. Type of debt

Each petitioner believes:

L) Debts are primarily consumer debts, Consumer debts are defined in 11 U.S.C. § 101(8) as

id Debts are primarily business debts. Business debts are debts that were incurred to obtain money
for a business or investment or through the operation of the business or investment.

“incurred by an individual primarily for a personal, family, or household purpose.”

-bankruptcy cases
pending by or against
any partner, spouse, or
affiliate of this debtor?

Official Form 105

w

Yes, Debtor Greenville Auto World, LLC

District Eastern Date filed 06/23/2023

Relationship _Member/Manager

MM/DD /YYYY

Debtor

District ; Date filed

Relationship

Case number, if known,
MM / DD / YYYY

Case number, if known,

23-01745-5-JNC

Involuntary Petition Against an Individual
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Debtor

Willard Timothy Sutton

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ee Report About the Case
a

Case number (it known),

/ 140. Venue

Reason for filing in this court.

11, Allegations

Check one:

C) Over the last 180 days before the filing of this bankruptcy, the debtor has resided, had the principal place of
business, or had principal assets in this district longer than in any other district.

@@ A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

C) Other reason. Explain. (See 28 U.S.C. § 1408.) :

Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a). |
:

At least one box must be checked:

O) The debtor is generally not paying such debtor's debts as they become due, unless they are the subject of a
bona fide dispute as to liability or amount.

C) Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or _
authorized to take charge of less than substantially all of the property of the debtor for the purpose of enforcing a |
lien against such property, was appointed or took possession. |

_ 12. Has there been a
transfer of any claim

_ against the debtor by or

to any petitioner?

13. Each retires claim

Official Form 105

No

C) Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule
1003(a).

Amountofthe
claim above the _. :
value of any lien :

Name of petitioner Nature of petitioner's claim

First-Citizens Bank & Trust Money loaned

|
Lempany $63,966.74,

ini |

“Money Joaned/fraud
5 4 900,000.00

Gary M. Harris

Thomas Carlton f Elks, Jr.

“Money loaned/fraud st” |
§ 4,563,171.00 |

Total 5 3 527,137.74

If more than 3 petitioners, attach additional sheets with the statement under penalty
of perjury, each petitioner's (or representative's) signature under the statement,
along with the signature of the petitioner's attorney, and the information on the
petitioning creditor, the petitioner's claim, the petitioner's representative, and the
attorney following the format on this form.

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Debtor Willard Timothy Sutton

Case number (if known)

Request for Relief

Petitioners request that an order for relief be entered against the debtor under the chapter specified in Part 1 of this petition. If a petitioning
creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a foreign
representative appointed in a foreign proceeding, a certified copy of the order of the court granting recognition is attached.

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}

Petitioners declare under penalty of perjury that the information provided in this petition is true and correct. Petitioners understand that if they make a |
false statement, they could be fined up to $250,000 or imprisoned for up to 5 years, or both.
18 U.S.C, §§ 152 and 3571. If relief is not ordered, the court may award attorneys’ fees, costs, damages, and punitive damages. 11 U.S.C. § 303(i).

Petitioners or i Representative

x haf Yhuen< TD) SYP

' | Late of petitfoner or representative, ‘including representative's title

First-Citizens Bank & Trust Company

Printed name of petitioner
Datesigned Ott f OF] 2023
MM DD ff YYYY

Mailing address of petitioner
100 E. Tryon Road, Mail Code: DAC36

Attorney:

“el fat i Fanning

48E75B957437

Signature ‘of é attorney

Paul A. Fanning

Printed name

Ward and Smith, P.A.

Number Street

Raleigh NC 27603

City State ZIP Code

If petitioner is an individual and is not represented by an
attorney:

Contact phone

Email

Name and mailing address of petitioner's representative, if any

Thomas Choiniere, Sr. Vice President

Name

100 E. Tryon Road, Mail Code: DAC36

Number Street
Raleigh NC 27603

City State ZIP Code

Firm name, if any

Post Office Box 8088

Number Street

Greenville NC 27835

City State ZIP Code
8/18/2023 | 14:09:48 EDT

Date signed

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Contact phone202-2 15-4000

Official Form 105 Involuntary Petition Against an Individual

Email Paf@wardandsmith.com

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Debtor

Willard Timothy Sutton

Case number (it known)

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Gary M. Harris

Printed name of petitioner

Date signed
MM / DD /Y¥YYY¥

Mailing address of petitioner

1130 Autum Lakes Drive

Number Street
Grimesland NC 27837
City State ZIP Code

Name and mailing address of petitioner’s representative, if any

ing

Printed name

Ward and Smith, P.A.

Firm name, if any

Post Office Box 8088

Name
Number Street i
a
e
City State ZIP Code i
anemia . si sami chara
Signature of petitioner or representative, including representative's title Signature of Attorney

a

Thomas Carlton Elks, Jr.

Printed name of petitioner

Date signed
MM / DD /YYYY

Mailing address of petitioner

1645 East Arlington Boulevard, Suite C

Number Street
Greenville NC 27858
City State ZIP Cade

Name and mailing address of petitioner's representative, if any

Name

Number Street

City ZIP Code

"Official Form 105

Contact phone202-2 1 5-4000

Number Street

Greenville NC 27835

City State ZIP Code
8/18/2023 | 14:09:48 EDT

Date signed

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Email Paf@wardandsmith.com

Paul A. Fanning

Printed name

Ward and Smith, P.A.

Firm name, if any

Post Office Box 8088
Number Street

Greenville NC 27835
City State ZIP Code
Date signed

Involuntary Petition Against an Individual

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Email Paf@wardandsmith.com

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Se A i i thie a? L x Poul h. Fanning
Signature of petitibner or representative, including representative's title : Signature of Attorney

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Debtor Willard Timothy Sutton

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Date signed

Signature of petitioner or representative, including representative's title

Gary M. Harris

Printed name of petitioner

MM / DD /YYYY

Mailing address of petitioner

1130 Autum Lakes Drive
Number Street

Grimesland NC 27837
City State ZIP Code

Name and mailing address of petitioner's representative, if any

Name

Number Street

City State ZIP Code

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‘x dome Coll. L00 J

Signature of petitioner or representative, including represeptative’ $ title

Thomas Carlton Elks, Jr.

Printed name of petitioner

Date signed og ¥ i $2023
MM / DD /YYYY

Mailing address of petitioner
1645 East Arlington Boulevard, Suite C

Number Street
Greenville NC 27858

City State Z\P Code

Name and mailing address of petitioner's representative, if any

Name

Number Street

City State ZIP Code

Official Form 105

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Se ee

Case number (if knewn)

Signature of Attorney

Paul A. Fanning

Printed name

Ward and Smith, P.A.

Firm name, if any

Post Office Box 8088

Number Street

Greenville NC 27835
City State ZIP Code
Date signed

MM /DD /YYYY

Contact phone252-215-4000

-DocuSigned by:..

x Paul Fansing

Email paf@wardandsmith.com

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Signature ‘of Attorney

Paul A. Fanning

Printed name

Ward and Smith, P.A.

Firm name, if any

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